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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                   (Northern Division)

KAMILLE D. JONES,                             )
                                              )
                Plaintiff,                    )
v.                                            )       Civil Action No. 1:21-cv-02606-ADC
                                              )
BLAIR WELLNESS CENTER, LLC, et al.            )
                                              )
            Defendants.                       )
___________________________________           )
                                              )
BLAIR WELLNESS CENTER, LLC, et al.            )
                                              )
                Counter-Plaintiffs,           )
                                              )
v.                                            )
                                              )
KAMILLE D. JONES                              )
                                              )
            Counter-Defendant.                )
___________________________________           )

                  JOINT MOTION TO EXTEND DISCOVERY DEADLINE

       Defendants/Counter-Plaintiffs Blair Wellness Center, LLC, Matthew Edward Blair and

Blair Management, LLC (“Defendants”), and Plaintiff/Counter-Defendant Kamille D. Jones

(“Plaintiff”) (collectively, “the parties”) move to extend the deadline for completion of discovery

and submission of the post-discovery status report. In support thereof, the parties state as follows:

       1.       Discovery is scheduled to conclude on September 26, 2022, at which time the

parties are required to submit a post-discovery status report addressing the items set forth in the

Court’s Scheduling Order, ECF No. 35-1.
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       2.       The parties have exchanged documents requests, interrogatories and requests for

admissions since issuance of the Court’s Scheduling Order on May 12, 2022, and Defendants have

served several third-party subpoenas.

       3.       However, the protracted briefing on motions to dismiss and amended pleadings

have continued throughout discovery in this matter. See, e.g., ECF No.’s 38-59. As a result, the

claims, defenses and parties properly before the Court and subject to discovery were unsettled

throughout much of the discovery period, and the parties dedicated substantial time and resources

to briefing the aforementioned pleading issues.

       4.       Since the Court’s recent ruling on Defendants’ Partial Motion to Dismiss the

Amended Complaint on September 1, 2022, ECF No.’s 58 and 59, the parties have sought to

schedule the depositions of Plaintiff and the third-party witnesses identified in Plaintiff’s revised

Answers to Interrogatories, served on September 5, 2022.

       5.       Given the limited availability of Plaintiff and her counsel – as well as the fact that

Plaintiff has recently identified ten (10) third party witnesses with knowledge of her claims – the

parties do not have sufficient time to conduct the necessary depositions and complete discovery

by the deadline of September 26, 2022.

       6.       The parties therefore respectfully request an extension of the deadline for

completion of discovery and submission of the post-discovery status report to and including

December 12, 2022, as well as a corresponding extension of all post-discovery deadlines.

       7.       The parties anticipate that they will be able to complete all necessary discovery,

including depositions, by December 12, 2022, and will not request an additional extension of the

discovery deadline absent unforeseen circumstances.




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        8.        WHEREFORE, the parties respectfully request that the Court enter the attached

Order, extending the deadline for completion of discovery and submission of the post-discovery

status report.

Date: September 21, 2022                 Respectfully submitted,




                                         /s/ Michael E. Blumenfeld
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                                         /s/ (with permission)
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                                         Counsel for Plaintiff/Counter-Defendant




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 21st day of September, 2022, a copy of the foregoing

Joint Motion to Extend Discovery Deadline was served via the Court’s ECF system on:


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                                       Counsel for Plaintiff/Counter-Defendant



                                          /s/ Jeffrey T. Johnson
                                          Jeffrey T. Johnson




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